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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA

                                              Alexandria Division



    NATALIE BURKE,

                               Plaintiff,
                                                                Case No. l:18-cv-01605-LO-JFA
                                                                Hon. Liam O'Grady

    CHS MIDDLE EAST,LLC,

                                Defendant.



                                 ORDER & MEMORANDUM OPINION


         This matter is before the Court on Defendant's Motion to Dismiss(Dkt. 6). The motion

was fiilly briefed and the Court dispensed with oral argument. The Court carefully reviewed the

pleadings, case law, and the timeline provided in Plaintiffs opposition brief. For the reasons that

follow, and for good cause shown. Defendant's Motion to Dismiss(Dkt. 6)is hereby

GRANTED as to Counts I, III, and IV, and DENIED as to Count II.

                                              I. BACKGROUND*

         Plaintiff Natalie Burke began working for Defendant CHS Middle East, LLC as a

registered nurse in Basra, Iraq in August 2015. Compl.                 6-8.

         In August 2016, Lee Workman became Plaintiffs direct supervisor. Id. at ^ 14. Workman

was promoted to Nurse Lead despite a formal complaint that he had sexually harassed a female

government contractor, and he continued sexually harassing women after becoming Nurse Lead.

Id. atH 15-17.



'The facts stated herein are derived from Plaintiffs Complaint. Plaintiffs alleged facts are accepted as true for the
purposes ofthe Motion to Dismiss and all reasonable inferences are drawn in her favor. Kensington Volunteer Fire
Dep't V. Montgomery Cty.,684 F.3d 462,467(4th Cir. 2012).
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